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                                          EXHIBIT B

                          UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF CONNECTICUT
                                 NEW HAVEN DIVISION

In re                                                 :       Chapter 11
                                                      :
SERVICOM LLC,                                         :       Case No. 18-31722 (AMN)
JNET COMMUNICATIONS LLC, and                          :       Case No. 18-31723 (AMN)
VITEL COMMUNICATIONS LLC,                             :       Case No. 18-31724 (AMN)
                                                      :
                               Debtors.               :       (Joint Administration Requested)

                                  AFFIDAVIT OF ATTORNEY

        I, Stephen M. Kindseth, being duly sworn, hereby depose and say:

        1.     I am a partner of the law firm of Zeisler & Zeisler, P.C. (“Z&Z”) and am duly admitted

to practice in the State of Connecticut and in the United States District Court for the District of

Connecticut.

        2.     I provide this Affidavit in connection with the Application of ServiCom LLC

(“ServiCom”), JNET Communications LLC (“JNET”) and Vitel Communications LLC (“Vitel”)

(collectively, the “Debtors”), pursuant to 11 U.S.C. §§ 327 and 328, Fed. R. Bankr. P. 2014 and 2016,

and Local Bankr. R. 2014-1, to retain Z&Z as their counsel with respect to the above-captioned

chapter 11 cases (the “Chapter 11 Cases”).

        3.     Z&Z maintains an office for the practice of law at 10 Middle Street, 15th Floor,

Bridgeport, Connecticut 06604.

        4.     To the best of my knowledge, information, and belief, (a) Z&Z and its attorneys

have no connection with the Debtors, their significant creditors, any other party-in-interest, their

respective attorneys and accountants, the United States Trustee, or any person employed in the

office of the United States Trustee, apart from Z&Z’s representation of the Debtors prior to the

Petition Date in connection with their contemplated Chapter 11 Cases; (b) Z&Z and its attorneys
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do not hold any interest adverse to the Debtors’ estates for the matters for which Z&Z is to be

employed; and (c) Z&Z and its attorneys are “disinterested persons” within the meaning of §

101(14) of Title 11 of the United States Code (such title, hereinafter, the “Bankruptcy Code”), as

required by § 327(a) of the Bankruptcy Code.

       5.        Pursuant to § 329 of the Bankruptcy Code, Fed. R. Bankr. P. 2016(b), and Local

Bankr. R. 2014-1, a copy of Z&Z’s Disclosure of Compensation for Attorneys for the Debtors is

attached hereto as Exhibit 1.

       6.        A copy of Z&Z’s hourly billing rates presently in effect is attached hereto as Exhibit

2. These hourly rates are subject to increase, which increases typically occur at the beginning of each

calendar year.

       7.        On the Petition Date, the Debtors entered into a Retention Agreement with Z&Z (the

“Retention Agreement”) concerning Z&Z’s prospective representation of the Debtors in the Chapter

11 Cases. The Debtors have provided Z&Z with a retainer in the amount of $140,000 (the

“Retainer”).

       8.        Pursuant to the Retention Agreement, the Retainer paid to Z&Z constitutes an

advanced payment earned upon receipt by Z&Z, which Z&Z has deposited in a separate escrow

account in Z&Z’s name. Further pursuant to the Retention Agreement, as well as the Bankruptcy

Code and Local Bankr. R. 2014-1, no amounts from the Retainer may be disbursed with respect to

professional services and expenses to be rendered after the Petition Date unless or until Z&Z’s fees

and expenses are allowed by the Bankruptcy Court. The Retention Agreement requires that any

unused portion of the Retainer be refunded to CNI upon the termination of Z&Z’s representation.




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        9.      The complete provision of the Retention Agreement governing the Retainer is as

follows:

        Under certain circumstances, such as those which present themselves in this case, we
        require that a retainer be paid before the filing of the bankruptcy petition. In the present
        case, we have asked that the Companies pay all invoiced fees and expenses before the
        Petition is filed with the Court plus a retainer in the amount of $140,000 (less such
        amounts as applied to fees and expenses incurred prior to the commencement of the
        bankruptcy cases) to be applied against any remaining current and any fees and
        disbursements incurred in the future, which would include the $1,717 filing fee.

        The retainer shall constitute an advanced payment “earned upon receipt” by the Firm.
        However, even though the Firm owns the retainer, the Firm will deposit the retainer
        in a separate escrow account in the name of the Firm and will not disburse to the Firm
        any portion of the retainer until the Firm’s fees and expenses are allowed by the
        Bankruptcy Court pursuant to the United States Bankruptcy Code. Any unused
        portion of the retainer upon the termination of the Firm’s representation—the amount
        remaining after the payment of the Firm’s fees and expenses—shall be refunded
        promptly to the Companies.

        Any additional retainer amounts subsequently received by the Firm will be subject to
        the terms of this letter.

        10.     The Debtors have been fully informed concerning the nature of the Retainer, which is

necessary and appropriate under the circumstances in these Chapter 11 Cases.

        11.     Z&Z has not shared or agreed to share compensation from the Debtors with any other

person unless they are employees of Z&Z.

        I declare upon penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

        Dated at Bridgeport, Connecticut, this 19th day of October, 2018.

                                                 /s/ Stephen M. Kindseth
                                                 Stephen M. Kindseth




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                                          EXHIBIT 1

                          UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF CONNECTICUT
                                 NEW HAVEN DIVISION

In re                                                  :       Chapter 11
                                                       :
SERVICOM LLC,                                          :       Case No. 18-31722 (AMN)
JNET COMMUNICATIONS LLC, and                           :       Case No. 18-31723 (AMN)
VITEL COMMUNICATIONS LLC,                              :       Case No. 18-31724 (AMN)
                                                       :
                               Debtors.                :       (Joint Administration Requested)

             DISCLOSURE OF COMPENSATION OF ATTORNEYS FOR DEBTORS

        1.      Pursuant to 11 U.S.C. §329(a) and Fed. R. Bankr. P. 2016(b), I certify that I am
an attorney with Zeisler & Zeisler, P.C. (the “Firm”), proposed counsel for the Debtors in the
above-captioned Chapter 11 cases (collectively, the “Bankruptcy Cases”), and compensation
paid to the Firm for services rendered or to be rendered on behalf of the Debtors in connection
with these Bankruptcy Cases is as follows:

The Firm has agreed to accept as a retainer:                                     $140,000.00.1

As of the Petition Date, the Firm had a pre-petition retainer balance of:        $140,000.00.2
Balance Due of retainer:                                                         $0.00

        2.      The source of compensation paid to the Firm was:

                          x   Debtors                          Other (specify)

        3.      The source of compensation to be paid to the Firm is:

                          x   Debtors                          Other (specify)

       4.        x The Firm has not agreed to share compensation from the Debtors with any
persons unless they are employees of the Firm.

        5.      The Firm and I have agreed to render bankruptcy legal services to the Debtors on the
terms and conditions set forth in the Retention Agreement appended hereto, and as further set forth
in the Debtors’ application for this Court’s order approving the Debtors’ employment of the Firm.

        6.      Fees will be billed at the Firm’s normal hourly rates and reimbursement of


1 Less the amount of fees and expenses incurred by the Firm through the filing of the bankruptcy case,
which will be deducted from the $140,000 paid by the Debtors to determine the actual retainer amount;
upon such deduction, the Firm will file an Amended Disclosure of Compensation of Attorneys of Debtors
disclosing the actual retainer amount.
2 Same as footnote 1.
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expenses will be sought, subject to Court approval, and the Debtors have agreed to pay all such
allowed fees and expenses to the extent approved and the above-noted retainer is exceeded.

                                      CERTIFICATION

       As of the date hereof, I certify that the foregoing is a complete statement of any agreement
or agreement for payment to me and the Firm for the representation of the Debtors in these
Chapter 11 cases.

Dated: October 19, 2018 at Bridgeport, Connecticut.



                                      By:     /s/ Stephen M. Kindseth
                                              James Berman (Federal Bar No. ct06027)
                                              Stephen M. Kindseth (Federal Bar No. ct14640)
                                              Patrick R. Linsey (Federal Bar No. ct29437)
                                              ZEISLER & ZEISLER, P.C.
                                              10 Middle Street, 15th Floor
                                              Bridgeport, CT 06605
                                              Tel. 203-368-4234
                                              Fax 203-367-9678
                                              Email: skindseth@zeislaw.com
                                                      jberman@zeislaw.com
                                                      plinsey@zeislaw.com
                                              Their Attorneys




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Zeisler & Zeisler PC
BILLING RATES
Rates effective April 9, 2018
                                 April-18
Beatman, Matthew                    450
Berman, James                       500
Blau, Christopher                   275
Cesaroni, John                      325
Henzy, Eric                         475
Horwitt, Jed                        495
Hurlie-Dunn, Coleen                 395
Kindseth, Stephen                   450
Kornafel, Joanna                    300
Linsey, Patrick                     350
Miller, Christine                   375
Miron, James                        400
Moriarty, James                     420
O'Brien, Barbara                    190
Paralegal Services                  190
Romney, Aaron                       425
Secretarial Overtime                  85
Vaughan, Rion                       300

Rev. 4/27/18
